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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
NATHSON E. FIELDS, )
Plaintiff,
Vv. Case No. 10 C 1168
CITY OF CHICAGO, et al., Judge Matthew F. Kennelly
Defendants. Magistrate Judge Geraldine Soat Brown

ORDER TO CHICAGO POLICE DEPARTMENT TO
BRING SUBJECT FILE CABINET TO COURT

This Court hereby orders the Chicago Police Department to bring the subject file cabinet,
inventory number 0058005, to 219 S. Dearborn, Room 2103. The item shall be brought to the
courtroom at 8:30 a.m. on Thursday, November 17, 2016. Kenneth Patrick, John Wojcik and
Scott Doyle will be the individuals delivering the file cabinet. They will be driving a Ford 5 Ton
Stake truck with City logo and decals on the door and back lift gate. The license plate number

for said vehicle is M 163412.

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JUDGE MATTHEW F. KANNELLY
- UNITED STATES DISTRICT COURT

